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   14
   15                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16                                WESTERN DIVISION
                                                  Case No. 2:21-cv-04405-RGK-MAR
   17   PAUL SNITKO, JENNIFER
        SNITKO, JOSEPH RUIZ, TYLER                DECLARATION OF NILAY U.
   18   GOTHIER, JENI VERDON-                     VORA IN SUPPORT OF
        PEARSONS, MICHAEL STORC,                  PLAINTIFFS’ EX PARTE
   19   and TRAVIS MAY,                           APPLICATION TO SET A
                                                  SCHEDULE FOR PRODUCTION
   20                                 Plaintiffs, OF DOCUMENTS AND
                     v.                           DISCOVERY MOTIONS
   21
                                                  (Filed Concurrently with Plaintiffs’ Ex
   22   UNITED STATES OF AMERICA,                 Parte Application; Memorandum of
        TRACY L. WILKISON, in her                 Points and Authorities; and Proposed
   23   official capacity as Acting United        Order)
        States Attorney for the Central           DISCOVERY MATTER
   24   District of California, and KRISTI
        KOONS JOHNSON, in her official
   25   capacity as an Assistant Director of      Judge: Hon. Margo A. Rocconi
        the Federal Bureau of Investigation,      Discovery cutoff date: TBD
   26                                             Pre-Trial Conference Date: TBD
                                    Defendants. Trial Date: July 26, 2022
   27                                             Complaint Filed: May 27, 2021
                                                  Amended Complaint Filed: June 9, 2021
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    1         I, Nilay U. Vora, submit the following declaration in support of Plaintiffs’ Ex
    2   Parte Motion to Compel Discovery Responses.
    3         1.     I am licensed to practice law in California and I am admitted to the
    4   Central District of California. I am the founder of The Vora Law Firm, P.C. I
    5   represent Plaintiffs in this matter, together with Robert Frommer and Robert
    6   Johnson of The Institute for Justice. I submit this declaration in support of
    7   Plaintiffs’ Ex Parte Application.
    8         2.     On April 14, 2022, I participated in a meet-and-confer concerning the
    9   schedule for production of documents in this case. Robert Frommer and Robert
   10   Johnson also participated in the call, as counsel for Plaintiffs. Defendants (the
   11   United States of America and two officials sued in their official capacities, referred
   12   to herein after as the “government”) were represented by AUSA Victor Rodgers.
   13   Plaintiffs requested this conference—and engaged in additional correspondence
   14   attached below (see Exhibits G, H, and I)—in an effort to comply with the Court’s
   15   instruction in its March 30 order to meet and confer with the government
   16   concerning any disputes with respect to the government’s production.
   17         3.     At the April 14 conference, counsel for Plaintiffs asked the
   18   government to agree to a specific date to produce documents in this case. Based on
   19   the government’s suggestion in an April 13 email (see Exhibit H) that discovery
   20   would take three weeks, counsel for Plaintiffs suggested a May 6, 2022 deadline for
   21   document production. Counsel for the government stated that he would check with
   22   the FBI to see if it was possible to agree to a specific date, but he refused to commit
   23   to anything at the conference. Subsequently, on April 15, counsel for the
   24   government emailed (see Exhibit I) to say that the government could not commit to
   25   a firm date for production.
   26         4.     At the April 14 conference, counsel for Plaintiffs also asked the
   27   government to commit to a specific date to provide a privilege log. Counsel for
   28   Plaintiffs requested a log at the earliest possible date—suggesting that a log might
                                                   2
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    1   be provided within 14 days—but asked if at a minimum a log could be provided by
    2   May 6, 2022. Again, counsel for the government declined to commit to a firm date
    3   during the meet-and-confer and subsequently emailed (see Exhibit I) to say that the
    4   government could not commit to a firm date to provide a privilege log.
    5         5.     During the April 14 conference, counsel also discussed the mechanics
    6   of the production of documents. Counsel for the government represented that the
    7   FBI has not been able to figure out how to produce video recordings, given the size
    8   of the files involved, and suggested that the FBI’s technical inability to transmit
    9   files of video recordings is slowing production in this case. Counsel for the
   10   Plaintiffs offered to come in person to pick up copies of the video files, but counsel
   11   for the government did not firmly agree to this plan and did not say whether it
   12   would resolve this apparent technical difficulty. On April 20, counsel for the
   13   government emailed (see Exhibit I) to say that the FBI’s technical difficulties also
   14   were affecting transmission of the files within the FBI and indicated that these
   15   difficulties had not yet been resolved.
   16         6.     During the April 14 conference, counsel for the Plaintiffs also pressed
   17   counsel for the government to identify any specific documents or categories of
   18   documents that will not be produced. Counsel for the government did not identify
   19   any such documents, beyond raising a potential issue with respect to production
   20   under RFP 10 (discussed below). Counsel for the government generally indicated
   21   that the documents sought by Plaintiffs would eventually be produced, and counsel
   22   for the government firmly committed that the government would be producing (at
   23   some point) the video recordings sought by RFP 9.
   24         7.     During the April 14 conference, it also became clear that the
   25   government would seek to raise new and additional objections to the discovery
   26   requests that Defendants had not raised before. In particular, although prior
   27   correspondence makes clear Defendants had previously committed to produce
   28   documents in response to RFP 10 (seeking policy documents pertaining to the
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    1   retention of documents generated during the challenged search), Defendants during
    2   the April 14 call questioned the relevance of those documents and said that he had
    3   not yet determined whether they would be produced. Counsel for the government
    4   subsequently emailed (see Exhibit I) to say that such documents would not in fact
    5   be produced, but, in that same email, counsel for the government also invited
    6   Plaintiffs to engage in further meet-and-confer on that issue.
    7         8.     As of the execution of this Declaration, despite the repeated efforts of
    8   counsel for the Plaintiffs to surface any potential discovery disputes in this case, the
    9   government has not agreed to a firm date to finish production of even those
   10   documents that the government has made no objection to producing and has in fact
   11   already agreed to produce. The government also has not agreed to a firm date to
   12   produce a privilege log. It is not clear what documents (if any) will be withheld by
   13   the government on grounds of privilege or otherwise or when such disputes about
   14   privilege could be subject to a meet and confer between the parties and then
   15   properly raised with the Court if necessary through motion practice.
   16         9.     All of this creates a distinct risk that Plaintiffs will be prejudiced
   17   because they will not have important documents in time to use them in depositions
   18   in this case. Depositions are set to begin on April 28, with the deposition of FBI
   19   Special Agent Justin Palmerton. Plaintiffs will then take the deposition of Special
   20   Agent Lynn Zellhart on May 6. And Plaintiffs and the government have agreed to
   21   set additional depositions of government agents, including the 30(b)(6) deposition,
   22   between May 16 and 27. (The April 28 and May 6 depositions have been officially
   23   noticed, see Exhibit J, but Plaintiffs have not officially noticed the May 16-27
   24   depositions because (1) it is effectively impossible to identify witnesses without
   25   access to documents, and (2) Plaintiffs are reluctant to officially notice the 30(b)(6)
   26   deposition without a firm commitment that they will have access to documents
   27   before that time.) It appears certain that Plaintiffs will lack important documents for
   28   the Palmerton deposition on April 28 and potentially may not have documents for
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    1   the Zellhart deposition on May 6. Absent intervention from the Court, Plaintiffs
    2   may also be forced to conduct additional depositions—including the 30(b)(6)
    3   deposition—without access to documents.
    4         10.    It is important to note that counsel for the government, Victor Rodgers,
    5   specifically suggested that the deposition dates would need to be moved because
    6   document production would not be completed before the deposition dates noticed—
    7   even though the government has no objection to producing the documents and has
    8   already agreed to do so and been provided with extensions of time to do so. (See
    9   Exhibit I.) The government’s failure to produce documents in a timely fashion
   10   places Plaintiffs in a position to choose between deposing witnesses without
   11   documents that the government already agreed to produce long ago but has not, or
   12   deposing witnesses at a later date but with documents requested in a manner that
   13   would prejudice Plaintiffs’ ability to present evidence to the Court. The prejudice to
   14   Plaintiffs from the delay by the government would be significant in making
   15   discovery less efficient and less effective.
   16         11.    All of this also creates a distinct risk that Plaintiffs will not have
   17   important documents in time to use them in briefing. Opening briefs are currently
   18   due June 21. While the government has estimated that production will be complete
   19   in early May, that is an estimate only and the government has not committed to any
   20   firm deadline. The government has already sought additional extensions but still
   21   failed to produce any documents. Moreover, the government’s statements suggest
   22   that the government may seek to withhold unspecified documents at the time of
   23   production, and, absent the Court’s intervention, it appears likely that there will not
   24   be time to litigate any such issues in advance of the June 21 briefing deadline.
   25         12.    On April 21, 2022, at 10 am, Victor Rodgers, counsel for the
   26   government, and Rob Frommer, Rob Johnson, and I engaged in a telephone call
   27   where we advised of the ex parte application and all relief that would be sought and
   28   the basis therefor. Mr. Rodgers indicated that the government would oppose the
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    1   relief sought.
    2         13.    Attached as Exhibit A is a true and correct copy of Plaintiffs’ Second
    3   Set of Requests for Production, were sent to Defendants on November 5, 2021.
    4         14.    Attached as Exhibit B is a true and correct copy of an email chain
    5   containing correspondence between counsel for Plaintiffs and counsel for the
    6   government about the government’s request for an extension of time to respond to
    7   Plaintiffs’ Second Set of Requests for Production and Second Set of Interrogatories.
    8   The top email in the chain is dated November 29, 2021.
    9         15.    Attached as Exhibit C is a true and correct copy of the government’s
   10   Reponses to Plaintiffs’ Second Set of Requests for Production, which were sent by
   11   Defendants to Plaintiffs on January 7, 2022.
   12         16.    Attached as Exhibit D is a true and correct copy of the letter Plaintiffs’
   13   counsel sent to counsel for the government on January 24, 2022, discussing
   14   discovery in this case and summarizing the parties’ conference call earlier that day.
   15         17.    Attached as Exhibit E is a true and correct copy of an email chain
   16   containing correspondence between counsel for Plaintiffs and counsel for the
   17   government about the language of a proposed protective order. The top email in the
   18   chain is dated February 10, 2022.
   19         18.    Attached as Exhibit F is a true and correct copy of an email chain
   20   containing correspondence between counsel for Plaintiffs and counsel for the
   21   government about whether any other issues needed to be briefed in the parties’ joint
   22   stipulation regarding Plaintiffs’ first motion to compel. The top email in the chain is
   23   dated February 17, 2022.
   24         19.    Attached as Exhibit G is a true and correct copy of an email chain
   25   containing correspondence between counsel for Plaintiffs and counsel for the
   26   government about a timeline for the government’s production of documents
   27   following the Court’s resolution of the parties’ dispute about the terms of a
   28   protective order. The top email in the chain is dated April 11, 2022.
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    1         20.    Attached as Exhibit H is a true and correct copy of an email chain
    2   containing correspondence between counsel for Plaintiffs and counsel for the
    3   government about a timeline for the government’s production of documents. The
    4   top email in the chain is dated April 13, 2022.
    5         21.    Attached as Exhibit I is a true and correct copy of an email chain
    6   containing correspondence between counsel for Plaintiffs and counsel for the
    7   government about the government’s discovery production, including whether and
    8   when it would be providing responsive material to several of Plaintiffs’ outstanding
    9   discovery requests. The top email in the chain is dated April 20, 2022.
   10         22.    Attached as Exhibit J are the notices for the upcoming depositions of
   11   Justin Palmerton and Lynn Zellhart, which were sent to Defendant via First Class
   12   Mail on April 19, 2022 and via email on April 20, 2022.
   13

   14         I declare under penalty of perjury under the laws of the United States that the
   15   foregoing is true and correct.
   16

   17         Executed this 21st day of April, 2022.
   18

   19
                                               ______________________
                                               Nilay U. Vora
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